                  Case 2:25-mj-30026-DUTY ECF No. 1, PageID.1
                                               AUSA:             Filed 01/29/25 Telephone:
                                                       Kathryn Boyles             Page 1 of   6 226-9100
                                                                                           (313)
AO 91 (Rev. ) Criminal Complaint            Special Agent:         Andrew Erber                 Telephone: (513) 800-5125

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan

United States of America
   v.
Sarmad RAFI                                                              Case No.      




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of                  1/27/2025                  in the county of            St. Clair         in the
        Eastern           District of      Michigan       , the defendant(s) violated:
                   Code Section                                          Offense Description
18 U.S.C. § 554                                       Smuggling Goods from the United States
18 U.S.C. § 1001                                      False Statements




          This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                         Complainant’s signature

                                                                        Andrew
                                                                             w Erber         , Special
                                                                                                p      Agent
                                                                                                        g ((HSI))
                                                                                          Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:        January 29, 2025                                                               Judge’s signature

City and state: Detroit, Michigan                                        Kimberly
                                                                              rly
                                                                                y G. Altman,, United States Magistrate
                                                                                                              g        Judge
                                                                                                                          g
                                                                                          Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST
                       WARRANT
I, Andrew Erber, declare the following under penalty of perjury:
   1. I am a Special Agent employed by the United States Department of
      Homeland Security, Homeland Security Investigations (HSI), in Detroit,
      Michigan. I have been a Special Agent with the Detroit Special Agent in
      Charge (SAC) Office since July of 2022. I previously served as a U.S.
      Border Patrol Agent since June of 2016. I have successfully completed the
      Homeland Security Investigations Special Agent Training Course at the
      Federal Law Enforcement Training Center in Glynco, Georgia.

   2. This affidavit is submitted for the limited purpose of establishing probable
      cause that Sarmad RAFI, a native and citizen of Canada, violated Title 18,
      United States Code, Section 554(a), which prohibits smuggling goods from
      the United States, and Title 18, United States Code, Section 1001(a)(2),
      making false statements.

   3. The information contained in this affidavit is based upon my personal
      knowledge and observations, my training and experience, conversations with
      other law enforcement officers and witnesses, and a review of documents
      and records. I have not included every fact known to law enforcement
      related to this investigation.
                              PROBABLE CAUSE
   4. Sarmad RAFI is a citizen of Canada who resides in London, Ontario.
      Around January 2025, Homeland Security Investigations in Detroit,
      Michigan (HSI Detroit) received information that RAFI attempted to
      purchase seventeen fully automatic M16 weapons parts online from a
      company in the United States and requested that the parts be shipped to a
      parcel pickup business called “SCC Parcel Pickup” located in Port Huron,
      Michigan.

   5. SCC Parcel Pickup is advertised as a Canadian-American package pickup
      location. Based on my training and experience, it is common for people
      residing in Canada, and elsewhere, to use businesses like SCC Parcel Pickup
      to make purchases in the United States and have these purchase shipped to a
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   United States-based address before picking the packages up themselves or
   having the packages re-shipped to their overseas address. Canadian citizens
   who pick up parcels and leave the United States must truthfully declare all
   merchandise at the port-of-entry to comply with federal export laws.

6. On January 6, 2025, HSI Detroit Special Agents obtained records for RAFI,
   with customer account 47562, from SCC Parcel Pickup in Port Huron,
   Michigan. These records included a list of packages received at SCC Parcel
   Pickup for RAFI. This list showed that fifteen packages were received at
   SCC Parcel Pickup between December 27, 2023, and December 30, 2024.
   Thirteen packages appear to have been retrieved and two were currently
   waiting to be picked up at SCC Parcel Pickup. By January 13, 2025, RAFI
   had seven packages awaiting pickup at SCC Parcel Pickup.

7. HSI Special Agents also obtained records from each business that shipped
   the seven packages to SCC Parcel Pickup. These records showed that RAFI
   purchased firearm components and accessories. Among the firearm
   components, there was:
         x Seven 3D Printed Pistol Frame Parts Set (FMDA DDXX.2 Glock
            Compatible), totaling $2,029.93
         x 10.5-inch complete 5.56 pistol upper receiver with flash can
         x VZ 61 Scorpion Parts Kit Complete Parts Kit, unissued with U.S.
            Made Barrel, 20 round Magazine, Holster and Cleaning Kit
         x Endcap/Adapter with stock interface for GHM9/45
         x 7 round Shotgun Card for 12-Gauge shells
         x Night vision goggle mount adapter for a helmet
         x Various pins, springs, and AR style upper receiver components.

8. On January 27, 2025, RAFI entered the United States from Canada through
   the Blue Water Bridge port-of-entry at Port Huron, Michigan driving a silver
   2014 Volkswagen Jetta bearing Ontario license plate CVYF901. HSI Special
   Agents conducted surveillance of RAFI in his vehicle, observed him drive to
   SCC Parcel Pickup in Port Huron, Michigan, and saw him leave the business
   with several packages in his arms. RAFI placed the packages inside the
   trunk of his vehicle and drove away from the business. HSI Special Agents
   continued surveillance, and observed RAFI enter “The Hock Shop &
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   Sporting Center,” a business in Port Huron, Michigan. About thirty minutes
   later, HSI Detroit Special Agents observed RAFI leaving the business with a
   bag and a piece of paper. After RAFI left the shop and returned to his
   vehicle, HSI Detroit Special Agents obtained a receipt from The Hock Shop
   showing that RAFI purchased one thousand rounds of .22 caliber
   ammunition.

9. HSI Detroit Special Agents continued surveillance as RAFI drove back to
   the Blue Water Bridge port-of-entry in Port Huron, Michigan to leave the
   United States for Canada. Customs and Border Protection (CBP) stopped
   RAFI and conducted an outbound inspection. During the inspection, a CBP
   officer completed an outbound declaration by asking RAFI if he had any
   weapons, firearms, ammunition, drugs or large amounts of currency (over
   $10,000) in his possession to declare. RAFI claimed he did not possess any
   of those items.

10.CBP directed RAFI’s vehicle to the secondary inspection area to conduct an
   outbound border search. Upon inspection of RAFI’s vehicle, law
   enforcement officers found seven packages in the trunk of the vehicle. The
   contents of the seven packages matched the records of the firearm
   components and accessories that RAFI purchased and shipped to SCC Parcel
   Pickup. Specifically, agents seized: seven 3D Printed Pistol Frame Parts Set
   (FMDA DDXX.2 Glock Compatible); a 10.5-inch complete 5.56 pistol
   upper receiver with flash can; VZ 61 Scorpion Parts Kit Complete Parts Kit,
   unissued with U.S. Made Barrel, 20 round Magazine, Holster and Cleaning
   Kit; Endcap/Adapter with stock interface for GHM9/45; 7 round Shotgun
   Card 12Gauge shells; Night vision goggle mount adapter for a helmet; and
   various pins, springs, and AR style upper receiver components. Agents also
   seized two boxes of ammunition, each containing five hundred rounds, from
   the trunk of RAFI’s vehicle, which matched the items listed in the receipt
   from The Hock Shop.

11.Based on my training and experience, RAFI knowingly attempted to export
   ammunition and firearm components from the United States to Canada in
   violation of several federal export control laws.
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12.HSI Detroit Special Agents interviewed RAFI at the port-of-entry after
   providing him with Miranda warnings verbally and in writing. HSI Detroit
   Special agents asked RAFI whether he had any outbound merchandise to
   declare. Initially, RAFI stated that he purchased milk, cherry coke, popcorn,
   and Dunkin’ Donuts. Later in the interview, RAFI admitted that he picked up
   parcels from SCC Parcel Pickup in Port Huron, Michigan to bring back to
   Canada. When agents asked RAFI why he did not declare the packages
   found in the trunk of his vehicle, RAFI claimed that he did not declare the
   packages because he did not want to pay a duty fee. When agents asked
   RAFI to describe the contents of the packages, he claimed that the parcels
   contained gun parts and accessories. When asked why he did not declare the
   1,000 rounds of ammunition that he purchased, RAFI stated that he knew it
   was against the law.
                             CONCLUSION
13.Based on the above information, I believe there is probable cause to
   conclude that Sarmad RAFI fraudulently or knowingly exported or sent,
   from the United States, or attempted to export or send from the United States
   any merchandise, article or object, to wit: firearm components and
   ammunition, contrary to any law or regulation of the United States, in
   violation of 18 U.S.C. § 554(a), and willfully and knowingly made a
   materially false, fictitious, and fraudulent statement and representation to
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   14.United States federal agents about his export declarations to unlawfully
      smuggle firearm components and ammunition from the United States, in
      violation of 18 U.S.C. § 1001(a)(2).


                                       ___________________________
                                       Andrew Erber, Special Agent
                                       Immigration & Customs Enforcement
                                       Homeland Security Investigations

Subscribed and sworn to before mem
                               means
in person or by other reliable mea


___________________________
Honorable Kimberly G. Altman
United States Magistrate Judge

               January 29, 2025
Dated: _______________________
